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  Statement on Delayed
  Prohibitions Related to TikTok
  Wilbur Ross
  In light of recent positive developments, Secretary        FOR IMMEDIATE RELEASE
  of Commerce Wilbur Ross, at the direction of               Saturday, September 19, 2020

  President Trump, will delay the prohibition of
                                                             Office of Public Affairs
  identified transactions pursuant to Executive Order
                                                             (202) 482-4883
  13942, related to the TikTok mobile application that
                                                             publicaffairs@doc.gov
  would have been effective on Sunday, September
  20, 2020, until September 27, 2020 at 11:59 p.m.


  LEADERSHIP
  Wilbur Ross

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